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 7

 8                                  UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10   COURAGE UHUMWNOMA OSAWE,           )                          Case No. 3:18-cv-00600-RCJ-WGC
                                        )
11                        Plaintiff,    )
                                        )
12        vs.                           )                       OPPOSITION TO MOTION TO STRIKE
                                        )                         (#19) FOR FAILURE TO REDACT
13   DMV INVESTIGATOR JENNIFER TINSLEY; )                         CONFIDENTIAL INFORMATION
     DMV INVESTIGATOR BRIAN BOWLES;     )
14   DMV INVESTIGATOR WILLIAM LYONS; )
     AND DMV SERGEANT TODD PARDINI;     )
15   AND JOHN DOES I THROUGH X,         )
     INCLUSIVE,                         )
16                                      )
                          Defendants.   )
17

18          Defendants Jennifer Tinsley, Brian Bowles, William Lyons, and Todd Pardini, by and through

19   counsel Aaron D. Ford, Attorney General of the State of Nevada, and Nathan L. Hastings, Senior

20   Deputy Attorney General, hereby submit their Opposition to Motion to Strike (#19) for Failure to Redact

21   Confidential Information

22          This Opposition is made and supported by the attached Memorandum of Points and Authorities

23   and all other papers and pleadings on file herein.

24                          MEMORANDUM OF POINTS AND AUTHORITIES

25          A.      Plaintiff’s Requested Sanctions are not Justified as Plaintiff was not Prejudiced by

26                  Defendants’ Initial Failure to Redact.

27          As Plaintiff has pointed out, at the time of the filing of Defendants’ Motion to Stay Discovery

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 1   (#17) on February 26, 2019, a page in one of its exhibits (#17-2, see #21-11 at 6) was filed without the

 2   redaction required by Fed.R.Civ.P. 5.2 and LR IC 6-1. Defendants acknowledge and apologize for this

 3   oversight.

 4          Later on that same date, when Defendants’ counsel became aware of its failure to redact the

 5   page at issue, the office of the clerk of the Court was contacted to address the issue. (See Exhibit A,

 6   Declaration of Barbara Cozens). The exhibit containing the unredacted page was immediately sealed.

 7   (Id.). Defendants then redacted personal identification information on the page at issue and the exhibit

 8   was re-filed as Exhibit B to the Motion to Stay Discovery (#21). (Id.).

 9          Defendants concede that under LR IC 7-1 and LR IA 11-8, the Court may sanction parties by

10   striking filings for violation of the Rules of Civil Procedure and Local Rules. However, in this matter,

11   circumstances to not justify such a sanction. Plaintiff was not prejudiced or harmed by the inadvertent

12   and temporary failure to redact his personal information. The information was redacted the same day it

13   was initially filed without redaction. If the Court deemed that any sanction were appropriate, the page

14   at issue might be stricken as it was the only offending item. It would be unduly harsh to limit

15   Defendants’ ability to seek a stay of discovery based on the very minor and temporary rule violation

16   that occurred in this matter.

17          Accordingly, Defendants request that Plaintiff’s Motion to Strike their Motion to Stay

18   Discovery, be denied.

19          DATED this 8th day of March, 2019.

20                                                AARON D. FORD
                                                  Attorney General
21
                                                  By:    /s/ Nathan L Hastings
22                                                       NATHAN L. HASTINGS
                                                         Senior Deputy Attorney General
23                                                       Attorney for Defendants
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26
     1
27     The exhibit at issue was at that time filed and numbered on the docket at #17-2, however, it is no
     longer contained on the docket under that number. As explained in Exhibit A to this Opposition
28   (Declaration of Barbara Cozens), later in the day on February 26, 2019, the clerk’s office at the Court
     was contacted and filed the unredacted exhibit at issue under seal, and it appears to occupy docket item
     #20 at this time. A redacted version of the exhibit was filed as docket item #21. (See Exhibit A).
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 1                                       CERTIFICATE OF SERVICE

 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that

 3   on March 8, 2019, I filed the foregoing document via this Court’s electronic filing system. Parties that

 4   are registered with this Court’s EFS will be served electronically. For those parties not registered,

 5   service was made by depositing a copy of the above-referenced document for mailing in the United

 6   States Mail, first-class postage prepaid, at Carson City, Nevada to the following:

 7
            Luke Andrew Busby, Ltd.
 8          316 California Avenue
            Reno, NV 89509
 9
10                                                        /s/Barbara D. Cozens
                                                          An Employee of the
11                                                        Office of the Attorney General
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 1                                   INDEX OF EXHIBITS

 2
     EXHIBIT                       EXHIBIT DESCRIPTION                    NUMBER OF
 3     NO.                                                                  PAGES
       A.      Declaration of Barbara Cozens                                  2
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